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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

)
UNITED STATES OF AMERICA, )
)
Vv. )
) Crim. Action No. 21-0618 (ABJ)
)
RILEY JUNE WILLIAMS, )
) 2s
Defendant. ) F I L E D
)
NOV 2 1 2022
. Clerk, U.S. District and
VERDICT FORM Bankruptcy Courts
Count I
I. How do you find Defendant Riley June Williams on the charge of Civil Disorder in Count |
in the Indictment?
x Guilty Not Guilty

If you find the defendant Not Guilty as to Count I, go on to Count II.

If you find the defendant Guilty on Count I, you must respond to the following

interrogatories:

Does the jury unanimously agree that the government has shown that the civil

disorder obstructed, delayed, or adversely affected commerce?

x Yes No

Does the jury unanimously agree that the government has shown that the civil
disorder obstructed, delayed or adversely affected the conduct of a federally

protected function?

x Yes No

II.

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Count II
How do you find Defendant Riley June Williams on the charge of Obstruction of an
Official Proceeding or Aiding and Abetting the Obstruction of an Official Proceeding in
Count 2 of the Indictment?

Guilty Not Guilty

Count III
How do you find Defendant Riley June Williams on the charge in Count Three of the
Indictment: Resisting or Impeding Certain Officers with the intent to commit Count One
or Count Two?

x Guilty Not Guilty

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If you find the defendant guilty of Count III, you must respond to the interrogatories

on the next page, and you must skip section A below on this page.

If the government has not proved the fifth element of Count III, that is, that she acted
with the intent to commit Count One or Count Two, you must complete section A

below and skip section B on the next page.

A. How do you find Defendant Riley June Williams on the lesser included charge
to Count Three of the Indictment?

Guilty Not Guilty

IV.

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B. If you find the defendant guilty of Count III, you must respond to the

following interrogatories:

Does the jury unanimously agree that the government has shown that the defendant

acted with the intent to commit Count I?

x Yes No

Does the jury unanimously agree that the government has shown that the defendant

acted with the intent to commit Count II?

Yes K No

Count IV
How do you find Defendant Riley June Williams on the charge of Aiding and Abetting the
Theft of Government Property in Count 4 of the Indictment?

Guilty Not Guilty

Count V
How do you find Defendant Riley June Williams on the charge of Entering and Remaining

in a Restricted Building or Grounds in Count 5 of the Indictment?

x Guilty Not Guilty
VI.

VIL.

VI.

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Count VI
How do you find Defendant Riley June Williams on the charge of Disorderly and

Disruptive Conduct in a Restricted Building or Grounds in Count 6 of the Indictment?

X Guilty Not Guilty

Count VII
How do you find Defendant Riley June Williams on the charge of Disorderly Conduct in a
Capitol Building or Grounds in Count 7 of the Indictment?

x Guilty Not Guilty

Count VIII
How do you find Defendant Riley June Williams on the charge of Parading,

Demonstrating, or Picketing in a Capitol Building in Count 8 of the Indictment?

xX Guilty Not Guilty

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Date
